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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

360 IMAGING, LLC,                         )
                                          )
      Plaintiff,                          )       CIVIL ACTION FILE
                                          )       NO. ______________
v.                                        )
                                          )       (Removed from the Superior
ITXPROS DENTAL, INC., ITXPROS,            )       Court of Fulton County,
LLC, KARIM MOHAMED                        )       Georgia, Civil Action File No.
ELSAYED, AHMED KHATER,                    )       2021CV356723)
HUSSEIN TAREK, SARA AMIN,                 )
SHENOUDA SAMIR BASEM                      )
TAREK, AYA ABDEL KADER                    )
MOUSTAFA and MARAM ALAA                   )
ELDIN AZMY,

      Defendants.

                        NOTICE OF REMOVAL
              (DIVERSITY OF CITIZENSHIP JURISDICTION)

TO THE CLERK OF COURT AND PLAINTIFF AND ITS ATTORNEY OF
RECORD:

      PLEASE TAKE NOTICE that defendants ITXPros Dental, Inc. and

ITXPros, LLC (the “ITXPros Defendants”), the only defendants served in the

above-captioned action, hereby remove the above-captioned action from the

Superior Court of the State of Georgia, County of Fulton, to the United States

District Court, Northern District of Georgia. The ITXPros Defendants allege they

are entitled to removal pursuant to 28 U.S.C. § 1441(b).
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      1.     On November 9, 2021, an action was commenced in the Superior

Court of the State of Georgia, County of Fulton, entitled 360 Imaging, LLC v.

ITXPros Dental, Inc., et al (the “State Court Action”). A true and correct copy of

the Summons directed to ITXPros, LLC is attached hereto as Exhibit A. A true

and correct copy of plaintiff’s Verified Complaint for Damages and Injunctive

Relief is attached hereto as Exhibit B.

      2.     Defendants ITX Pros, LLC and ITX Pros Dental, Inc. were served

with the summons and complaint via their registered agent in Delaware on

November 22, 2021.

      3.     This is a civil action of which this Court has original jurisdiction

under 28 U.S.C. § 1332, and is one which may be removed to this Court by

defendants pursuant to the provisions of 28 U.S.C. § 1441(b) in that there is

complete diversity of citizenship and the amount in controversy exceeds $75,000.

ITXPros, LLC is a limited liability company organized and existing under the laws

of the State of Delaware with its principal place of business located in Tampa,
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Florida. ITXPros Dental, Inc. is a corporation organized and existing under the

laws of the State of Delaware with its principal place of business located in Lewes,

Delaware. According to its Verified Complaint, Plaintiff is a Georgia limited

liability company with its principal place of business located at 6445 Powers Ferry

Road, Suite 360, Atlanta, Georgia 30339. See Exhibit B at ¶¶ 7 and 8.

      4.     A copy of the notice of removal has been filed or is being filed

contemporaneously in the State Court Action.

      5.     Attached hereto as Exhibits C is a true and correct copy of Plaintiff’s

Motion for Temporary Restraining Order and Interlocutory Injunction and Brief in

Support filed on December 13, 2021. Attached hereto as Exhibit D is a true and

correct copy of the Affidavit of Yahia Megahed in Support of Plaintiff’s Motion

for Temporary Restraining Order and Interlocutory Injunction, also filed on

December 13, 2021. According to the docket in the State Court Action, Exhibits

A through D are all the documents filed in the State Court Action.
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      WHEREFORE, the ITXPros Defendants pray that the State Court Action

be removed from the Superior Court of Fulton County to this Court and that this

Court assume jurisdiction over the action and determine it on the merits.

      Respectfully submitted, this 22nd day of December, 2021.

                                      KATZ LITIGATION GROUP, LLC

                                      /s/ Adam S. Katz
                                      Adam S. Katz
                                      Georgia Bar No. 408661


200 Galleria Parkway SE
Suite 1805
Atlanta, GA 30339
(404) 567-4601

Attorney for Defendants ITXPros
Dental, Inc. and ITXPros, LLC
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                     Local Rule 7.1 Compliance Certificate

      Pursuant to L.R. 7.1D, this is to certify that the foregoing Notice of Removal

complies with the font and point selections approved by the Court in L.R. 5.1B.

The foregoing Motion was prepared on a computer using the Times New Roman

font (14 point).


                                      KATZ LITIGATION GROUP, LLC

                                      /s/ Adam S. Katz
                                      Adam S. Katz
                                      Georgia Bar No. 408661


200 Galleria Parkway SE
Suite 1805
Atlanta, GA 30339
(404) 567-4601
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          EXHIBIT B
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              IN THE SUPERIOR COURT OF FULTON COUNTY

                               STATE OF GEORGIA

360 IMAGING, LLC ,                 :
                                   :
                                   :                 Civil Action File No.
                  Plaintiff,       :
                                   :                 2021CV356723
     vs.                           :
                                   :
ITXPROS DENTAL, INC., ITXPROS LLC, :
KARIM MOHAMED ELSAYED, AHMED :
KHATER, HUSSEIN TAREK, SARA        :
                                   :
AMIN, SHENOUDA SAMIR, BASEM        :
TAREK, AYA ABDEL KADER             :
MOUSTAFA, and MARAM ALAA ELDIN :
AZMY,                              :
                                   :
                                   :
                  Defendants.      :
  PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER
   AND INTERLOCUTORY INJUNCTION AND BRIEF IN SUPPORT
      COMES NOW Plaintiff 360 Imaging, LLC (“Plaintiff” or “360imaging”)

and respectfully submits this Motion for Temporary Restraining Order and

Interlocutory Injunction and Brief in Support, as pled in its Verified Complaint and

in the supporting Affidavit from Yahia Megahed, by showing this Court as

follows:

                               I.     INTRODUCTION

      This action arises in the context of Defendants’ improper and unlawful

misappropriation of 360imaging’s trade secrets, proprietary software and

confidential information to benefit and assist Plaintiff’s direct competitor, and the




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irreparable harm that threatens 360imaging’s business as a result. 360imaging

seeks immediate relief through a temporary restraining order and interlocutory

injunction to prevent the use and further dissemination of Plaintiff’s confidential

and proprietary information to unfairly compete and irreparably damage Plaintiff’s

business prospects and relationships.

      Plaintiff requests that the Court enjoin Defendants from using,

disseminating, and retaining Plaintiff’s trade secrets and from soliciting Plaintiff’s

customers and prospective customers with whom Defendants had material contact

or about whom Defendants obtained information while employed by 360imaging.

As grounds therefore, Plaintiff respectfully states as follows. Plaintiff further

incorporates its Verified Complaint as if fully set forth herein.1

                         II.    FACTUAL BACKGROUND

          A. 360imaging’s Business and Defendants’ Employment

      360imaging is a Georgia limited liability company principally engaged in

the business of creating and utilizing computer software, laboratories and products

to aid dental surgeons and other professionals and patients in the field of dental

implants. (Compl. ¶ 7) 360imaging is a national provider of products and services

to dental health providers, including creation and use of proprietary treatment


1
 A verified complaint serves as both pleading and evidence and can be used as
evidence to support the entry of injunctive relief. BEA Systems, Inc. v.
Webmethods, Inc., 265 Ga. App. 503, 504 (2006).


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planning software for the planning of implant cases, surgical guides, and digital lab

services (hereinafter “360imaging’s business”). (Id. ¶ 20)

      Defendants Karim Mohamed ElSayed (“Defendant ElSayed”), Shenouda

Samir (“Defendant Samir”) and Maram Alaa Eldin Azmy (“Defendant Azmy”)

worked on proprietary and confidential proposals and presentation materials for

360imaging’s clients and potential clients, reviewed customer cases and orders,

and had access to 360imaging’s confidential and proprietary information, including

its pricing, costs, and surgical guides. (Id. ¶ 23)

      Defendant ElSayed began employment with 360imaging on or about

December 21, 2020 as a business development manager and sales representative.

(Id. ¶ 24, 30) ElSayed was responsible for contacting current and potential

customers to develop new business. (Id. ¶ 22) In his role Defendant ElSayed

solicited customers and prospective customers for 360imaging. (Id.) Mr. ElSayed

resigned employment on or about May 31, 2021. (Id. ¶ 24).

      Defendant Samir worked for 360imaging as a segmentation specialist

responsible for performing clinical operations on client cases and designing

Plaintiff’s final product. (Id. ¶ 25) Defendant Samir was terminated from

employment with 360imaging on or about November 2, 2021 after Plaintiff

discovered that he had been conspiring with, working for and assisting Defendant




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ITXPros and the other former employee Defendants while employed at

360imaging. (Id.)

      Defendant Azmy worked for 360imaging as a treatment planner, planning

and designing doctor cases, and she was regularly in contact with Plaintiff’s

customers. (Id. ¶ 26) Defendant Azmy resigned her employment on or about

September 14, 2021. (Id.) While still employed by 360imaging, Azmy worked for

or otherwise assisted Defendant ITXPros in a manner designed to benefit ITXPros

to the detriment and damage of Plaintiff. (Compl. ¶ 45)

          B. 360imaging’s Trade Secrets and other Confidential Information

      Plaintiff’s trade secrets and confidential information include, but are not

necessarily limited to, proprietary company software including 360DPS (treatment

planning software) and 360Courier (the company’s CRM and order management

system), customer list and customer order history, product design files, and

company product manuals, presentations and other confidential materials. (Id. ¶

27)

      360imaging developed, owns and utilizes a proprietary software program to

offer its customers digital planning software for use in determining and

implementing dental implant patient treatment. (Id. ¶ 46) This includes the use of

three-dimensional computer imaging to ensure ideal assessment of bone and

prosthetic issues as well as the creation of proprietary surgical guides to facilitate



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patient treatment. (Id.) The software that was developed and is marketed and

utilized by 360imaging is an important, material part of 360imaging’s business.

(Id. ¶ 47) It constitutes confidential information not known to the public generally.

(Id.)

        At all times pertinent, 360imaging has taken measures that are reasonable

under the circumstances to protect and maintain the secrecy of its confidential

business information and trade secrets, including, but not limited to: password

protecting its computers and other electronic devices that are capable of accessing

360imaging’s networks and systems that house such information and data;

prohibiting the use of company electronics for personal reasons; restricting the use

of personal electronic devices for work-related purposes; prohibiting the copying,

transfer, or other appropriation of trade secret and confidential information; and

requiring the return of all confidential and trade secret data upon termination of

employment. (Id. ¶ 56).

        360imaging has implemented computer security measures to limit access to

and maintain the secrecy of its confidential business information and trade secrets.

(Id. ¶ 57) 360imaging email accounts are protected by requiring users to have a

unique username and password and to use multi-factor authentication. (Id.) And

360imaging’s file server data can only be accessed by a computer or mobile device

with specific software and user access requires a unique username and password as



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well as multi-factor authentication. (Id.) Other databases and software used by

360imaging are also protected by username and password requirements. (Id.)

      360imaging’s confidential and proprietary information and other trade

secrets are not commonly known by or available to the public. (Id. ¶ 58) Plaintiff’s

confidential and proprietary information derives economic value, both actual and

potential, from not being generally known to, and not being readily ascertainable

by proper means by, other persons who could obtain economic value from

disclosure. (Id. ¶ 59)

          C. The Restrictive Covenants

      Effective on or about January 1, 2021, 360imaging and Defendants ElSayed,

Samir and Azmy entered into written Employment Agreements. (Id. ¶ 30–31,

Exhibit A to Compl., Exhibit A and B to Megahed Aff.) Because they contain the

same restrictive covenant language, the Employment Agreements of Defendants

ElSayed, Samir and Azmy are hereinafter referred to jointly and severally as the

“Employment Agreements” or “the Agreements.”

      The Agreements: 1) offer protection from use or disclosure to third parties of

non-public information relating to Plaintiff’s business, 2) protect against unfair

appropriation of Plaintiff’s goodwill and information acquired during Defendants’

employment; 3) protect Plaintiff’s business relationships that have been or will be

developed, and 4) protect the Plaintiff’s investment in any specialized training



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provided to its employees. (Exhibit A to Compl. at 4–5, Exhibit A and B to

Megahed Aff. at 4–5)

       In order to protect Plaintiff’s confidential information, the Agreements also

include a provision prohibiting the use, reproduction, distribution, disclosure or

dissemination of 360imaging’s confidential information. (Exhibit A to Compl. at 5,

Exhibit A and B to Megahed Aff. at 5) Within twenty-four hours after termination,

employees are required to return Plaintiff’s property, including computer

equipment and software. (Id.) The Employment Agreements also provide that,

during the term of an employee’s employment and for a restricted period

afterward, 360imaging employee’s “shall not engage in a competing activity in the

Territory for a Competing Business.” (Compl. ¶ 33) Plaintiff’s “Territory” includes

the 50-mile radius of “any location at or to which an employee provided products

or services as an employee of Plaintiff” (Exhibit A to Compl. at 4 Exhibit A and B

to Megahed Aff. at 4), and a “Competing Business” is any entity, other than

360imaging, engaged in the sale, marketing or provision of dental health treatment

planning software, surgical guides and/or digital lab services. (Id. at 2) ITXPros

advertises as a business for dental professionals that provides dental treatment

planning, surgical guide design and digital planning design. (Megahed Aff. ¶ 17)

       Additionally, under the Agreements, an employee could not “directly or by

assisting others, solicit, attempt to solicit, call upon, divert, or initiate contact or



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communication with any Restricted Client on behalf of a Competing Business” to

sell or provide any service or product the same as, competitive or potentially

competitive to services and products sold by 360imaging. (Compl. ¶ 33, Exhibit A

to Compl. at 6, Exhibit A and B to Megahed Aff. at 6)

      Former employee Defendants other than Defendants ElSayed, Samir and

Azmy (“Former Employee Defendants”) were also presented with an employment

agreement substantially similar in form and content to the Employment

Agreements signed by Defendants ElSayed, Samir and Azmy. (Compl. ¶ 53)

However, those Former Employee Defendants refused to sign the agreements, quit

their employment, and soon thereafter operated ITXPros as a direct competitor to

360imaging. (Id.) Former Employee Defendants began their work for ITXPros

while still employed by 360imaging and thereafter. (Id.)

      Plaintiff has legitimate business interests that justify enforcement of the

restrictive covenants with Defendants ElSayed, Samir and Azmy. (Id. ¶ 35) The

restrictive covenants contained in the Employment Agreements with Defendants

ElSayed, Samir and Azmy protect 360imaging’s trade secrets and confidential and

proprietary information, its substantial relationships with prospective and existing

customers, and customer and client goodwill associated with its business, including

but not limited to its name and marketing or trade area and specialized training

provided by 360imaging. (Id. ¶ 35)



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          D. Defendants’ Separation and Unlawful Conduct

      In addition to copying Plaintiff’s confidential and propriety information,

Defendants used 360imaging’s design files to create a product that they market as

identical to 360imaging products. (Compl. ¶ 49, Megahed Aff. ¶ 19, Exhibits D, E

and G to Megahed Aff.) Specifically, Defendants ElSayed, Samir and Azmy

violated the covenants of their Employment Agreements by using, reproducing,

distributing and disclosing Plaintiff’s confidential information to a competing

business, ITXPros.

      Defendant ElSayed solicited business away from 360imaging by touting

ITXPros’ use of the same 3D digital imaging, surgical planning guides and

proprietary techniques for reviewing and managing customer cases and orders that

Defendants copied through access to Plaintiff’s information, while also claiming

that ITXPros could offer the same products at a cheaper price. (Compl. ¶ 50) One

of Plaintiff’s clients sent a screen image showing a text message from ElSayed,

trying to persuade the client to bring his work to ITXPros. (See Exhibit C to

Megahed Aff.) (showing ElSayed’s claims that ITXPros has “less expensive prices

than what you [the Client] pay now,” and advertising “better turnaround time”)

      Defendant Samir improperly and without authorization copied Plaintiff’s

proprietary computer software onto his personal computer. (Compl. ¶ 28) Samir

admitted to Plaintiff that he utilized Plaintiff’s proprietary software for, on behalf



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of, and for the benefit of Defendant ITXPros. (Id.) Upon demand by Plaintiff, he

purportedly deleted such software from his computer but it is currently unknown

whether Defendant Samir made or has another copy of Plaintiff’s proprietary

software. (Id.)

      Defendant Azmy resigned her employment on or about September 14, 2021.

(Id. ¶ 26) After resigning employment, 360imaging instructed Azmy to return her

360imaging company-issued laptop computer to Plaintiff, but Defendant Azmy

failed and refused to, thereby maintaining copies of Plaintiff’s trade secrets and

other confidential and proprietary information on the laptop. (Id. ¶ 27)

      Defendants ElSayed, Samir and Azmy have violated the non-solicitation

provisions of their Employment Agreements by contacting and soliciting

360imaging’s customers with whom they had contact during employment with

Plaintiff and they have diverted business from 360imaging to ITXPros. (Id. ¶ 36–

37) Defendant ITXPros was and is aware of Defendants ElSayed, Samir and

Azmy’s restrictive covenants to 360imaging. (Id. ¶ 38) ITXPros has caused or

permitted Defendants ElSayed, Samir and Azmy to breach their contractual

obligations to 360imaging. (Id. ¶ 39)

      Each of the Former Employee Defendants had access to Plaintiff’s

confidential customer list, customer-related information, and other confidential

information and trade secrets of Plaintiff during their employment with Plaintiff.



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(Id. ¶ 29) Each of the Former Employee Defendants improperly misappropriated

such trade secrets and conspired with Defendants ElSayed, Samir and Azmy to

violate their Employment Agreements. (Id.) For example, Defendant Hussein

Tarek (“Defendant H. Tarek”), upon information and belief, copied 360imaging’s

proprietary and confidential software and disclosed and provided it to Defendant

ITXPros for utilization. (Id. ¶ 54, Megahed Aff. ¶ 24) Defendant Aya Moustafa

emailed herself Plaintiff’s master design files for its anatomic guide product.

(Megahed Aff. ¶ 23, Exhibit H to Megahed Aff.) Defendant Ahmed Khater

assisted ITXPros to provide services to one of 360imaging’s former clients.

(Megahed Aff. ¶ 20, Exhibit F to Megahed Aff.) And Defendant Sara Amin

(“Defendant Amin”), like Defendant Azmy, refused to return her 360imaging

company-issued laptop upon termination of employment with Plaintiff. (Compl. ¶

55) Upon information and belief, Amin has disclosed the trade secret information

from 360imaging’s laptop to ITXPros and Defendants are improperly using

Plaintiff’s trade secrets to Plaintiff’s material detriment. (Id.)

      Plaintiff’s computer tracking systems have identified the unlicensed use of

360imaging software in over ten treatment cases. (Megahed Aff. ¶ 26) And

ITXPros’ customer list features several former customers of 360imaging, many of

whom had material contact with Former Employee Defendants while they were

employed with Plaintiff. (Id. ¶ 25) As a direct and proximate result of Defendants’



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unlawful misappropriation of confidential trade secrets and solicitation of

360imaging’s customers, 360imaging has suffered and continues to suffer

irreparable damages and other harm which cannot adequately be remedied through

monetary relief alone.

             III.   ARGUMENT AND CITATION OF AUTHORITY

      As shown more fully below, 360imaging will continue to suffer irreparable

harm due to the theft of its trade secrets and confidential information unless this

Court enjoins the Defendants.

          A. Standard for Interlocutory Injunction

      An interlocutory injunction may be issued to maintain the status quo if, after

balancing the equities of the parties, it appears the equities favor the party seeking

the injunction. The trial court’s exercise of its discretion will not be disturbed by an

appellate court unless a manifest abuse of that discretion is shown or unless there

was no evidence on which to base the ruling. Nguyen v. Tran, 287 Ga. App. 888

(2007) (citation omitted). The Georgia Trade Secrets Act (“GTSA”) provides for

injunctive relief when an injunction is necessary to eliminate a “commercial

advantage that otherwise would be derived from the misappropriation or where the

trade secret ceases to exist due to the fault of the enjoined party or others by

improper means.” O.C.G.A. § 10-1-762(a). In determining whether preliminary

injunctive relief is appropriate generally, the Court must consider the following:



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      (1) whether there is a substantial likelihood that the moving party will
          prevail on the merits of its claims at trial;

      (2) whether there is a substantial threat that the moving party will suffer
          irreparable injury if the injunction is not granted;

      (3) whether the threatened injury to the moving party outweighs the
          threatened harm that the injunction may do to the party being enjoined;
          and

      (4) whether granting the injunction will not disserve the public interest.

Holton v. Physician Oncology Servs., LP, 292 Ga. 864, 866–67 (2013) (citing SRB

Investment Servs., LLP v. Branch Banking & Trust Co., 289 Ga. 1, 5 (2011)). Here,

each of these factors support granting injunctive relief to 360imaging. This Brief

addresses each in turn.

         B. Substantial Likelihood of Success on the Merits

                1. Defendants misappropriated trade secrets and confidential
                   information.

      360imaging will likely be successful on the merits, because Defendants

unlawfully retained, copied, and shared Plaintiff’s proprietary and confidential

information. These actions constitute clear violations of the GTSA. A claim for

misappropriation of trade secrets under the GTSA requires that Plaintiff prove 1)

that it had a trade secret, and 2) the opposing parties misappropriated the trade

secret. O.C.G.A. § 10-1-760 et seq. “Trade secrets” are defined as confidential,

proprietary information not commonly known to the public that (A) derives

economic value, actual or potential, from not being generally known to, and not


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being readily ascertainable by proper means by, other persons who can obtain

economic value from its disclosure or use; and (B) is the subject of efforts that are

reasonable under the circumstances to maintain its secrecy. O.C.G.A. § 10-1-

761(4). For example, the GTSA notes that current and prospective customer lists

are examples of trade secrets. O.C.G.A. § 10-1-761(4); see Degiorgio v. Megabyte

Int’l, 266 Ga. 539, 540 (1996) (holding that “tangible lists of customers and

suppliers are the property of the employer and warrant protection as trade secrets.”)

      Here, Plaintiff has trade secrets and Defendants misappropriated Plaintiff’s

trade secrets by divulging confidential information learned through their

employment to Plaintiff’s competitor, ITXPros. Defendant Samir admitted to

copying and forwarding Plaintiff’s proprietary computer software onto his personal

computer. (Compl. ¶ 28) Defendant H. Tarek also copied and retained Plaintiff’s

proprietary software. (Megahed Aff. ¶ 24) The software constitutes a trade secret

under Georgia law. Additionally, Defendant Azmy failed and refused to return her

360imaging company-issued laptop computer, which has Plaintiff’s confidential

and proprietary information, including its customer lists, on it. (Compl. ¶ 27) And

Defendant Amin also refused to return her company-issued laptop computer. (Id. ¶

55) These company computers were meant to be returned to Plaintiff within

twenty-four hours of termination and they contain Plaintiff’s trade secrets.




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      Defendants now work for or assist a direct competitor of 360imaging.

(Compl. ¶ 53) Upon information and belief, Defendants supplied Plaintiff’s

proprietary software and trade secret information to ITXPros to the detriment of

Plaintiff’s business. 360imaging took reasonable steps to maintain the secrecy of

this information by utilizing access control tools like unique username and

password requirements, multi-factor authentication and device software

requirements. See Capital Inventory v. Green, 2021 WL 2452650 at *4 (N.D. Ga.

Feb. 5, 2021) (highlighting that passwords and other proprietary entry devices were

sufficient to show that an employer took reasonable steps to protect its confidential

information).

      Defendants used improper means to retain and copy Plaintiff’s trade secrets.

Defendants have stolen Plaintiff’s property, including its computer files, designs,

laptops, customer list, computer software and other property – both tangible and

intangible, physical and electronic. The customer lists, software and information

about customers, patients, surgical guides and treatment plans that the Defendant

former employees copied and/or took constitute trade secrets as defined under the

GTSA. O.C.G.A. §§ 10-1-760 et seq.

                2. Defendants are soliciting 360imaging customers.

      Defendant ElSayed, among other former employee defendants, has solicited

business and customers away from 360imaging, in violation of ElSayed’s



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restrictive covenants with Plaintiff and Georgia law. Customer non-solicitation

provisions are enforceable under Georgia law. Under Georgia’s Restrictive

Covenant Act (the “RCA”)

      “an employee may agree in writing for the benefit of an employer to refrain,
      for a stated period of time following termination, from soliciting, or
      attempting to solicit, directly or by assisting others, any business from any of
      such employer’s customers, including actively seeking prospective
      customers with whom the employee had material contact during his or her
      employment for purposes of providing products or services that are
      competitive with those provided by the employer’s business.” O.C.G.A. §
      13-8-53(b).

      Here, Plaintiff’s customer non-solicitation provision is presumptively

reasonable, because it lasts only twelve months after termination of employment.

(Exhibit A to Compl. at 4, Exhibit A and B to Megahed Aff. at 4) Under Georgia

law, “a court shall presume to be reasonable in time any restraint two years or less

in duration.” O.C.G.A. § 13-8-57(b). Furthermore, the provision adheres to the

requirements of the RCA. The non-solicitation provision only applies to a

“Restricted Client,” defined as a client with whom the employee had material

contact and business dealings during employment with 360imaging. (Exhibit A to

Compl. at 4, Exhibit A and B to Megahed Aff. at 4) Therefore, Plaintiff’s non-

solicitation provision satisfies the RCA by constraining restricted clients to those

that the employee dealt with specifically.

      Despite their non-solicitation obligations, Defendants ElSayed, Samir and

Azmy have contacted and solicited 360imaging’s customers with whom they had


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material contact during employment with Plaintiff and have diverted business

away from 360imaging. In fact, a text message sent to Plaintiff by its client reveals

Defendant ElSayed directly contacting the client to persuade him to work with

ITXPros instead. (Megahed Aff. ¶ 18, Exhibit C to Megahed Aff.) Former

employee defendants kept and are using Plaintiff’s confidential customer contact

information to solicit 360imaging customers and potential customers on behalf of

and with the knowledge and participation of Defendant ITXPros. (Compl. ¶ 42)

      Because Defendants misappropriated Plaintiff’s confidential and proprietary

information learned through their employment, 360imaging will almost certainly

prevail on its claims against Defendants ElSayed, Samir and Azmy for breach of

contract and for its claim under the Georgia Trade Secrets Act. Therefore,

Plaintiff’s request for a restraining order and injunctive relief should be granted.

          C. The Balance of Harms Favors 360imaging

      Without injunctive relief, 360imaging’s business will suffer. Defendants

have retained Plaintiff’s company-issued laptops and copied Plaintiff’s proprietary

software, items that constitute trade secrets. Absent an injunction, 360imaging

“[stands] to lose customer relationships and would suffer irreparable harm.”

Kennedy v. Shave Barber Company, LLC, 348 Ga. App. 298, 308 (2018). And

courts have held that “the prospective loss of customers . . . is not an injury that

damages can adequately repair.” Green, 2020 U.S. Dist. LEXIS 256051, at *25.



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      Here, as a direct and proximate result of Defendants’ unlawful solicitation of

360imaging’s customers, Plaintiff has suffered and continues to suffer irreparable

damages and other harm which cannot adequately be remedied through monetary

relief alone. (Compl. ¶ 44) Without immediate injunctive relief, 360imaging

“stands to lose significant revenue and the value of its trade secrets will erode

materially.” Amedisys Holding, LLC v. Interim Healthcare of Atlanta, Inc., 793 F.

Supp. 2d 1302, 1314 (N.D. Ga. 2011).

      On the other hand, Defendants will not suffer any legitimate harm from the

imposition of an injunction because a party “cannot suffer compensable harm when

enjoined from unlawful activity.” Id. at 1314 (citation omitted). Plaintiff seeks only

to prevent its Former Employee Defendants from doing what they have no right to

do – use 360imaging’s trade secret information and solicit customers with whom

they have had material contact. Therefore, the balance of harms tilts in favor of

360imaging.

          D. An Injunction Would Serve the Public Interest

      Granting the requested temporary restraining order and injunction would

further Georgia’s public policy of and commitment to ensuring fair competition

and protecting Georgia’s companies from unlawful interference with their business

operations. The GTSA provides that “[a]ctual or threatened misappropriation may

be enjoined.” O.C.G.A. § 10-1-762(a). And the RCA similarly provides: “[a] court



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shall enforce a restrictive covenant by any appropriate and effective remedy

available at law or equity, including, but not limited to, temporary and permanent

injunctions.” O.C.G.A. § 13-8-58(c). Furthermore, “Georgia’s public policy now

supports the enforcement of restrictive covenants.” PointeNorth Ins. Group v.

Zander, 2011 WL 4601028, at *4 (N.D. Ga. Sept. 30, 2011). So, here, the

imposition of an injunction would promote the protection of Georgia companies

from unlawful misappropriation and protect Plaintiff’s trade secrets.

                                IV.    CONCLUSION

      Based on the foregoing reasons, 360imaging thus respectfully requests that

the Court:

   (a) Immediately hear this request for interlocutory injunction and temporary

      injunctive relief;

   (b) Enjoin Defendants ElSayed, Samir and Azmy, and any associated person or

      entity acting on their behalf, from using, disclosing, misappropriating,

      transferring, accessing, altering, deleting, or destroying any of Plaintiff’s

      information that Defendants removed, copied, backed up, or otherwise

      obtained from 360imaging.

   (c) Enjoin Defendants from directly or indirectly soliciting any customers or

      prospective customers of Plaintiff’s identified in the 360imaging customer

      list;



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   (d) Enjoin Defendants ElSayed, Samir and Azmy, as well as any other former

      employee Defendant, from directly or indirectly soliciting any customers or

      prospective customers of Plaintiff’s with whom Defendants had material

      contact during their employment with 360imaing;

   (e) Enjoin Defendants from destroying any relevant evidence and metadata;

   (f) Order Defendants Azmy, Samir, H. Tarek and Amin to return any property

      or information belonging to 360imaging that is in their possession to

      360imaging; and

   (g) Award 360imaging any further relief it deems just and proper.


Respectfully submitted this 13th day of December, 2021.

                                      SMITH, GAMBRELL & RUSSELL, LLP

                                      /s/ Matthew W. Clarke
                                      Matthew W. Clarke
                                      Georgia Bar No. 127430
                                      William Long
                                      Georgia Bar No. 457490
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                                      Atlanta, Georgia 30309-3592
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                                      Email: mclarke@sgrlaw.com

                                      Attorneys for Plaintiff




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             IN THE SUPERIOR COURT OF FULTON COUNTY

                             STATE OF GEORGIA

360 IMAGING, LLC ,                   :
                                     :
                                     :           Civil Action File No.
                     Plaintiff,      :
                                     :           2021CV356723
     vs.                             :
                                     :
ITXPROS DENTAL, INC., ITXPROS LLC, :
KARIM MOHAMED ELSAYED, AHMED :
KHATER, HUSSEIN TAREK, SARA          :
                                     :
AMIN, SHENOUDA SAMIR, BASEM          :
TAREK, AYA ABDEL KADER               :
MOUSTAFA, and MARAM ALAA ELDIN :
AZMY,                                :
                                     :
                                     :
                     Defendants.     :
____________________________________

                        CERTIFICATE OF SERVICE

      I hereby certify that on December 13th, 2021, I electronically filed the

foregoing PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING

ORDER AND INTERLOCUTORY INJUNCTION AND BRIEF IN

SUPPORT, AND THE AFFIDAVIT OF YAHIA MEGAHED IN SUPPORT

OF PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING ORDER

AND INTERLOCUTORY INJUNCTION with the Clerk of Court using the

Odyssey eFileGA system, and served Defendants’ counsel by placing a copy of same

in FedEx, postage prepaid and addressed as follows:



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                               Adam S. Katz, Esq.
                             Katz Litigation Group
                       200 Galleria Parkway SE, Suite 1805
                             Atlanta, Georgia 30339

      I also certify I have this day served the foregoing PLAINTIFF’S MOTION

FOR TEMPORARY RESTRAINING ORDER AND INTERLOCUTORY

INJUNCTION AND BRIEF IN SUPPORT, AND THE AFFIDAVIT OF

YAHIA MEGAHED IN SUPPORT OF PLAINTIFF’S MOTION FOR

TEMPORARY          RESTRAINING           ORDER       AND      INTERLOCUTORY

INJUNCTION by depositing copies of it for FedEx shipping with adequate postage

affixed thereto for delivery to the following addresses of the Defendants:


                               ITXPros Dental, Inc.
                              16192 Coastal Highway
                              Lewes, Delaware 19958

                                  ITXPros LLC
                              16192 Coastal Highway
                              Lewes, Delaware 19958

                           Karim Mohamed ElSayed
                26 Kolyet El Banat Project – Behind Dar El Defaa
                                First Nasr City,
                                 Cairo, Egypt

                                 Ahmed Khater
                        6M Square 1224 Masaken Sheraton
                                   El Nozha,
                                  Cairo, Egypt



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                         Hussein Tarek
                   Fifth Settlement District 5
                      M1 First New Cairo
                          Cairo, Egypt

                          Sara Amin
                     10 Yahia Shahin Street
                         El Omranya
                          Giza, Egypt

                         Shenouda Samir
               Said Street Berket El Sabaa District
                      Berket El Sabaa West
                        Menoufia, Egypt

                          Basem Tarek
              13 El Falaky Street Mahatet El Ramel
                           El Atareen
                        Alexandria, Egypt

                   Aya Abdel Kader Moustafa
              7 El Wakad Street by Tomanbai Street
                            Zeitoun
                         Cairo, Egypt

                    Maram Alaa Eldin Azmy
                     4 Ibn Batouta Street
                           Haram
                         Giza, Egypt




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This 13th day of December, 2021.


                                   SMITH, GAMBRELL & RUSSELL, LLP

                                   /s/ Matthew W. Clarke
                                   Matthew W. Clarke
                                   Georgia Bar No. 127430
                                   William Long
                                   Georgia Bar No. 457490
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                                   Email: mclarke@sgrlaw.com

                                   Attorneys for Plaintiff




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                  EXHIBIT D

	                        	  
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   Bogart (a dental health professional) and SYNrG Lab. In fact, our access to

   the ITXPros website shows that many of its customers arc former clients of

   360Imaging with whom the Defendants had material contact while our

   employees.

26. Our systems have tracked the unlicensed use of our software for the

   treatment of over ten cases. For example, a case for Dr. Bogart was first

   submitted to 360Imaging, got cancelled, and then was designed on a

  computer unofficially acquired by ITXPros. A true and correct copy of the

  Computer ID tracking and Dr. Bogart's patient case file arc attached to this

  Affidavit as Exhibits I and J.



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 Notary Public


 My Commission Expires




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      EXHIBIT A
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                  Case 1:21-cv-05237-TWT Document 1 Filed 12/22/21 Page 88 of 119



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            rcus(rn  riltitlsocrcr'.    rrh..lltcr lirr'('arrsc. uitlttrttt ('ititsc. or tirr ettr trlltet'rcltsttt'}. LIP()n thc initintive
            ol'citlrcl Plr1r.
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            rnile nulius ol-ant locrtion at nhich [:rnplovcr prrtvidccl scrviccs at an]'timc rvithin tltr'one-ycar
            pcriotl irtrnreciiatcll,pt'ior to'l'crnrination: (b) thc gcograpltic area locatcd u'ithin a 50-milc radius ol'
            arr olflcc rrl'a Restrictccl Custourr'u arrcllc) the gcographic arca r.vithin a -i0- nrile raclius ol'anv
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                                    its sccrccr'.

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             crpl-rltlrlcrrt rtith thc l:rnplorcr'. l:ruplorcc rvill lrc prrlvirlcd atltl hat'c tlcccss to contldcntial.
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               inlirrnrirtitrrr rclating to l'.nrpkrrcr's brrsirtcss: (tr) tlrc pr()tecti()n rtl'ttnlhit'appropriation of
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               his or lrcl crnplorrncnt: (e ) the protcel.ion ol'[-rrnplovet''s busillcss re latiortshi;rs that havc beetr ttr
               uill trc.lcr,clopetl or rrurturctl ()r'nlilnagc(l ltr tht'l:.nrplorce durirrg his ot'hcr cnrploy'b1 thc
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               ttr lirttPltlr cc.

                          5.       Agree rrrerrt liot to l)isclosc Confidcnti:rl lnt'urrn:rtion. All Conlldential
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              rlisscrrrirralc ('orrljrlcrrtirrl lnlirrntrttion ortl:itlc ol'tltr.' scol.rc ol'l:rttplorce's ciutics lilr L.ntplorc:r
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     U-                   7.        Agrcemettt Nttt to C'ontpete. t)uring thc terrn of trrnplovee's enrplovnrelt and tor
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            to solicit- call ttptttt. dilcrt. or irritiatc c()rltuc:t or colnn'lunication rvith anv Rcstrictecl
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            prot itlr-'. iln\ \cr\ icc rlr ProdUcl f hat is th(: santc its ()r conlpetif irc rlr potcn1i11ll1,
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      EXHIBIT B
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                            CERTIFICATE OF SERVICE

         The undersigned hereby certifies that (a) a true and correct copy of the

within and foregoing Notice of Removal has been electronically filed using an

approved service which delivers an electronic copy to the following counsel, and

(b) counsel has provided an additional service copy to the following counsel via

email:

                               Matthew W. Clarke, Esq.
                                  William Long, Esq.
                            Smith, Gambrell & Russell, LLP
                              1105 W. Peachtree St., NE
                                       Suite 1000
                                   Atlanta, GA 30309

         This 22nd day of December, 2021.



                                         /s/ Adam S. Katz
                                         Adam S. Katz
                                         State Bar No. 408661
